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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                       §
    In re:                                             §   Chapter 11
                                                       §
    EBONY MEDIA HOLDINGS LLC and                       §   Case No. 20-32391 (DRJ)
    EBONY MEDIA OPERATIONS LLC,                        §
                                                       §   Jointly Administered
                                1
                     Debtors.                          §


                          FIRST INTERIM APPLICATION COVER SHEET

    Name of Applicant:                                       The Claro Group, LLC
    Applicant’s role in case:                                Chief Restructuring Officer & Additional
                                                             Personnel
                                                             November 5, 2020 [Doc. 138] modified on
    Date order of appointment signed:
                                                             December 30, 2020 [Doc. 298]
    Retainer received prior to filing of petition:           $0.00
    Retainer received after filing of petition:              $0.00
                                                             Beginning of Period Ending of Period
    Time period covered by this Application:                   October 26, 2020      December 31, 2020
    Time period(s) covered by prior Applications:                    N/A                     N/A
    Total amounts awarded in all prior Applications:                                         N/A
    Total fees requested in this Application:                                               $114,182.50
    Total actual professional hours covered by this Application:                                  279.4
    Average hourly rate for professionals:                                                      $408.67
    Total paraprofessional fees requested in this Application:                                     N/A
    Total actual paraprofessional hours covered by this Application:                               N/A
    Average hourly rate for paraprofessionals:                                                     N/A
    Reimbursable expenses in this Application and in all Prior Applications:                      $0.00




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 The "Debtors" in these Chapter 11 cases are: (a) Ebony Media Operations LLC (No. 20-33665) and (b)
Ebony Media Holdings LLC (No. 20-33667).
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                  §
 In re:                                           §    Chapter 11
                                                  §
 EBONY MEDIA HOLDINGS LLC and                     §    Case No. 20-32391 (DRJ)
 EBONY MEDIA OPERATIONS LLC,                      §
                                                  §    Jointly Administered
                   Debtors.                       §


         FIRST INTERIM APPLICATION OF THE CLARO GROUP, LLC
    FOR APPROVAL OF COMPENSATION IN CONNECTION WITH PROVIDING
             A CHIEF RESTRUCTURING OFFICER AND CERTAIN
                ADDITIONAL PERSONNELTO THE DEBTORS
     FOR THE PERIOD OF OCTOBER 26, 2020 THROUGH DECEMBER 31, 2020

          This motion seeks an order that may adversely affect you. If you oppose the
          motion, you should immediately contact the moving party to resolve the
          dispute. If you and the moving party cannot agree, you must file a response
          and send a copy to the moving party. You must file and serve your response
          within 21 days of the date this was served on you. Your response must state
          why the motion should not be granted. If you do not file a timely response, the
          relief may be granted without further notice to you. If you oppose the motion
          and have not reached an agreement, you must attend the hearing. Unless the
          parties agree otherwise, the court may consider evidence at the hearing and
          may decide the motion at the hearing.

          Represented parties should act through their attorney.

          The Claro Group, LLC (“Claro”), providing Robert E. Ogle as Chief Restructuring Officer

(“CRO”) and certain additional personnel in the above-referenced bankruptcy cases of Ebony

Media Holdings LLC (“Holdings”) and Ebony Media Operations LLC (“Operations”)

(collectively, the “Debtors”), files this its First Interim Application (the “Application”) seeking

interim allowance of compensation in the amount of $114,182.50 for the period October 26, 2020

through December 31, 2020 (the “First Interim Application Period”), and in support respectfully

states as follows:

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                                 JURISDICTION & VENUE

       1.     This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This

is a core proceeding under 28 U.S.C. § 157(b) and venue is proper in this Court under 28 U.S.C.

§§ 1408 and 1409.

       2.     On July 23, 2020, involuntary chapter 7 petitions were filed against Operations and

Holdings in the United States Bankruptcy Court for the Southern District of Texas, Houston

Division (the “Bankruptcy Court” and the “Bankruptcy Cases”).

                                      BACKGROUND

       3.     On September 3, 2020, an Agreed Order for Relief was entered in each of the

Bankruptcy Cases, and therein the Debtors elected to convert each of the Bankruptcy Cases to

chapter 11 (the “Agreed Order”). The Agreed Order provided for the joint administration of the

Bankruptcy Cases in Case No. 20-33665.

       4.     On November 3, 2020, the Debtors filed their Emergency Application for an Order

Authorizing Retention of Claro Pursuant to 11 U.S.C. §§ 327(a) and 330(a) to provide the Debtors

with a Chief Restructuring Officer and Certain Additional Personnel, and to Designate Robert E.

Ogle (“Ogle”) as Chief Restructuring Officer (Doc #135). An Order granting the application was

entered on November 5, 2020, a copy of which is attached as Exhibit A. On December 1, 2020,

the Debtors filed their Emergency Motion to Modify CRO Order. Therein, the Debtors sought to

modify the CRO’s rights and duties to make decisions, as necessary, without approval of the

Holdings and Operating board members, but with consultation of such board members. Thereafter,

for reasons stated at the December 1, 2020 hearing, Michael Gibson, Willard Jackson, John

Robinson and Jacob Walthour were immediately removed from as Directors. Ogle and Brendon

Singh were appointed as directors. An order granting the motion to modify was entered on

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December 30, 2020. Ogle has acted as CRO since November 5, 2020 and continues in that role.

        5.     All professional services for which Claro requests compensation and allowance in

this Application were performed for the period October 26, 2020 through December 31, 2020, for

and on behalf of the Debtors. No agreement or understanding exists between Claro and any other

person with respect to the sharing of compensation sought herein, except that the compensation

approved by the Court will be shared among Claro’s partners, associates, and personnel as

authorized under the Bankruptcy Code.

                                   INTERIM APPLICATION

        6.     Claro makes this Application pursuant to 11 U.S.C. § 330 for interim approval of

$114,182.50 for professional CRO and Additional Personnel services rendered by Claro in

connection with the representation of Debtors during the period of October 26, 2020 through

December 31, 2020.

       7.      During the First Interim Application Period, Claro expended an aggregate total of

279.40 hours for professional services rendered on behalf of the Debtors. Claro’s standard rates

are consistent with fees charged in similar matters. Further, all of the time incurred by Claro during

the First Interim Application Period was incurred performing reasonable and necessary services

for the Debtors as CRO and Additional Personnel.

        8.     During the First Interim Application Period, primarily through Ogle performing as

CRO, Claro performed work in fifteen different areas: asset sale and recovery analysis, business

operations, business plan, case administration and maintenance, cash management and collateral

analysis, claims analysis, internal meetings, lease and executory contract analysis, meetings with

Debtors or Debtors’ Counsel, post-petition financing analysis, fee application, bankruptcy court

hearing, schedules and statements, monthly operating reports and the plan of reorganization. A

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detailed listing of the services performed in each area by Claro is included in Exhibit B attached

hereto. The professional hours and rates per task are summarized below:

                                                                          Total
    Professional           Position       Hourly Rate    Effective Rate                 Total Fees
                                                                          Hours
 Bouche', Diane        Administrator      $    175.00    $       175.00    11.7     $         2,047.50
 Brickley, Douglas    Managing Director   $    600.00    $       600.00     2.1     $         1,260.00
 Miller, Lance T          Director        $    430.00    $       430.00    33.5     $        14,405.00
 Nasta, Pedro             Analyst         $    265.00    $       265.00    32.5     $         8,612.50
 Nguyen, Hung             Manager         $    350.00    $       350.00    15.0     $         5,250.00
 Ogle, Robert          Senior Advisor     $    450.00    $       450.00   182.1     $        81,945.00
 Rub, Nathaniel           Analyst         $    265.00    $       265.00     2.5     $           662.50
        Totals                                           $       408.67   279.4     $       114,182.50


                                 Marketing and Sales Process
                         Total Hours Effective Rate      Total Fees
                            30.1     $       450.00    $    13,545.00

Brief description of the work performed in this category:

        The work performed under this category involved the time spent by Ogle as CRO and Claro
additional personnel developing a strategy and communicating with various parties that included
Debtors’ personnel, FTI Investment Bank, counsel, Claro professionals, as well as other interested
parties for the process of monetizing Debtors assets through a sale of substantially all assets.
Additional activity included review and analysis of Asset Purchase Agreement and any related
schedules and exhibits.


                               Case Administration, Strategy and
                                        Maintenance
                         Total Hours Effective Rate       Total Fees
                            89.2       $     416.68    $      37,167.50

Brief description of the work performed in this category:

       The work performed under this category relates to time spent by Ogle as CRO with support
from additional Claro personnel strategizing courses of action, dealing with different disputes, as
well as strategic meetings with counsel and other related parties Additionally, time under this
category includes of reviewing motions, objections, and exhibits related to Bankruptcy Court
Hearings, and time spent attending Bankruptcy Court Hearings. The work performed under this
category also involved time spent by Claro performing various case administrative tasks including
preparation of CRO retention documents and supporting court filings, nondisclosure agreements,
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research, reviewing documents, and other bankruptcy related administrative tasks. All of these
tasks were necessary as part of the administrative functions as CRO for the Debtors.

                               Data Management and Investigation
                         Total Hours Effective Rate     Total Fees
                            30.8       $     401.30 $       12,360.00

Brief description of the work performed in this category:

         The work performed under this category relates to time by Ogle as CRO with support from
additional Claro personnel spent extracting and managing data and documents related to a variety
of case functions including the investigation and evaluation of the Debtors’ allegations of lender
liability against Parkview.


                                 Plan Preparation & Analysis
                         Total Hours   Effective Rate     Total Fees
                             8.7        $      448.85   $    3,905.00

Brief description of the work performed in this category:

        The work performed under this category relate to Debtors’ preparation and review of the
Plan of Reorganization included any associated schedules or exhibits.


                              Financing and Cash Budget Analysis
                        Total Hours   Effective Rate     Total Fees
                            45.8       $         416.15   $      19,059.50

Brief description of the work performed in this category:

       The work performed under this category relates to the debtors’ cash management, creating
cash collateral budgets, use of cash collateral, and analyzing receipts/disbursements for Budget to
Actuals reporting. Additionally, the category includes any discussions with the DIP lender,
negotiation of DIP terms, related documents, funds flow, and sources and uses of associated cash.

                                         Claims Analysis
                       Total Hours       Effective Rate    Total Fees
                          43.7         $          404.59 $    17,680.50

Brief description of the work performed in this category:

       The work performed under this category relate to analyzing and reviewing the Debtors’
proof of claims with any supporting information including but limited to Parkview’s claim. Work
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performed in this category also included discussions with Parkview regarding its claim and
associated calculation.

                                  Monthly Operating Report
                         Total Hours Effective Rate     Total Fees
                            31.1     $       336.50   $    10,465.00

Brief description of the work performed in this category:

        The work performed under this category relates to time spent reviewing Debtors’
operations and financial activity and preparing Monthly Operating Reports for Bankruptcy Court
reporting.

        9.      Claro requests this Court to approve these fees on an interim basis and allow

compensation in the total amount of $114,182.50 during the First Interim Application Period.

                                        Johnson Factors

        10.    Bankruptcy courts have suggested various factors to consider in awarding

compensation in a bankruptcy case. See, e.g., Johnson v. Georgia Highway Express, Inc., 874 F.2d

714 (5th Cir. 1974). Claro’s fees and expenses, as requested in this Application, are reasonable

based on the following considerations, as outlined in American Benefit Life Insurance Co. v.

Braddock (In re First Colonial Corp. of America), 544 F.2d 1291 (5th Cir. 1977).

        11.    Time and Labor Required. The time spent by Claro in assisting, representing, and

advising the Debtors in all matters concerning these Chapter 11 cases covering the First Interim

Application Period totals 279.4 hours. The number of hours spent in these cases was reasonable

given the complexity of this case. The detail of the specific time entries, found in Exhibit B,

reflects the reasonableness of the compensation being requested. All of the services identified were

performed by Claro to assist the Debtors in their efforts to reorganize and emerge from bankruptcy

if possible.

        12.    Novelty and Difficulty of Work. Claro has been employed in numerous bankruptcy

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cases by debtors, creditors, and trustees to provide financial, accounting and tax related analysis

and consulting services. Claro provided the following services in this case, without limitation:

       a. Chief Restructuring Officer services performed by Ogle;

       b. Performed the duties prescribed by 11 U.S.C. § 1106(b), including but not limited to,

             investigating the acts, conduct, assets, liabilities, and financial condition of the Debtors,

             the operation of the Debtors business and the desirability and feasibility of the

             continuance of such business, and any other matter relevant to these cases or to the

             formulation of a plan;

       c. Analyzed the cash position and cash needs of the Debtors;

       d. Monitored all cash flows of the Debtors, including cash receipts received and cash

             disbursements;

       e. Reviewed and analyzed all newly proposed contracts and transactions;

       f. Reviewed the details supporting the Parkview secured claim;

       g. Investigated and evaluated the Debtors’ allegations of lender liability against Parkview;

       h. Prepared several cash flow budgets and monitored budget to actual variances;

       i. Prepared and filed Monthly Operating Reports; and

       j. Monitored the sale process of substantially all assets.

       13.       Experience, Reputation, and Ability of Financial Advisors and Consultants. Claro,

and Ogle in particular, is reputable, possesses the ability and skill adequate to perform the tasks

outlined in this Application, and have worked on numerous bankruptcies similar in size and

complexity to these cases. The Claro professionals, particularly Ogle, who provided the bulk of

the services in these cases during the First Interim Application Period possess specialized skills in

bankruptcy, corporate/business, finance and forensic accounting to merit the award of the

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requested fees.

        14.       Skill Required. The assistance provided to the Debtors by Claro, in these complex

Chapter 11 cases, has required a specialized degree of skill and experience. Claro believes it has

demonstrated the skills required to achieve results on behalf of the Debtors and the court in this

case. Substantial skills have been required in the form of forensic accounting, investigation of

transactions, running day-to-day operations and negotiation of all potential sale transactions.

        15.       Preclusion of Other Employment. Because of the time commitment involved in

these cases and the deadlines imposed upon Claro, Claro, and particularly Ogle’s ability to take on

other substantial engagements was limited to a certain degree.

        16.       Customary Fees. Claro’s professional services were necessary and have directly

contributed to the effective administration of this case. All fees charged by Claro were reasonable

and are in line with the rates charged on similar matters, without considering size, degree of

responsibility, difficulty, complexity, and results achieved.

        17.       Whether the Fees are Fixed or Contingent. The fees requested in this Application

have been calculated at normal hourly rates charged by Claro, and are in line with those charged

for similar work in this jurisdiction.

        18.       Time Limitations and Other Factors. The Debtors in these cases necessitated

expedited consideration of several motions and other matters. Claro performed their services on

an expedited basis and were successful in meeting the various deadlines imposed by the Court and

third parties.

        19.       Undesirability of these Cases. This factor has no applicability in this case.

        20.       Results Obtained. Claro has worked diligently and efficiently while keeping

administrative cost at a minimum. During this First Interim Application Period, Claro, particularly

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through the efforts of Ogle as CRO, stabilized the business thereby making it fully functional as

debtors in possession.

       21.     Fees Awarded in Similar Cases. As more fully described above, Claro submits that

its services fully warrant the fees requested herein under the ten (10) factors identified by the Fifth

Circuit and as are awarded in similar complex cases in the Southern District of Texas.

                                          CONCLUSION

       Based on the foregoing, The Claro Group, LLC requests that this Court allow and authorize

total fees of $114,182.50 on an interim basis for the First Interim Application Period. Claro also

requests that this Court grant them any other legal or equitable relief to which they may be entitled.

Dated: January 12, 2021

                                               Respectfully submitted,

                                               Kell C. Mercer, PC
                                               1602 E. Cesar Chavez Street
                                               Austin, Texas 78702
                                               Telephone: (512) 627-3512
                                               Email: kell.mercer@mercer-law-pc.com

                                               By: /s/ Kell C. Mercer
                                                       Kell C. Mercer
                                                       Texas Bar No. 24007668

                                               COUNSEL TO THE CLARO GROUP, LLC


                                 CERTIFICATE OF SERVICE

         I hereby certify that the foregoing pleading was served on the 12th day of January 2021, to
all parties required to receive notice via electronic transmission and the Court’s CM/ECF system
upon those parties subscribing thereto.

                                                       /s/ Kell C. Mercer
                                                       Kell C. Mercer



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